        CASE 0:20-cv-01906-WMW-KMM Doc. 67 Filed 09/23/21 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, AMY LARCHUK,
CHRISTOPHER REDMON, DHAVAL SHAH,                          Case No. 20-cv-1906-WMW-KMM
and THOMAS MCCORMICK, on behalf of
themselves and all others similarly situated,
                                                          JOINT STATUS REPORT
                                Plaintiff,
        v.

WHIRLPOOL CORPORATION,

                               Defendant.


       Plaintiffs Elizabeth Cleveland, Amy Larchuk, Christopher Redmon, Dhaval Shah and

Thomas McCormick (“Plaintiffs”) submit the following Joint Status Report.

       On August 10, 2021, the Parties submitted a Joint Status Report indicating that Plaintiffs

planned to file their motion for preliminary approval of the settlement by September 24, 2021.

(Doc. No. 62). Since that time, the parties have completed confirmatory discovery and continued

to work diligently to finalize the materials necessary to Plaintiffs’ motion for preliminary approval,

which is nearly complete. Plaintiffs intend to file their motion for preliminary approval on or before

October 8, 2021. Further briefing and the hearing on the motion for preliminary approval shall

follow the Court’s Local Rules.
        CASE 0:20-cv-01906-WMW-KMM Doc. 67 Filed 09/23/21 Page 2 of 4




Dated: September 23, 2021



  s/ Harper T. Segui                            s/ Galen D. Bellamy
  Harper T. Segui                               WHEELER TRIGG
  (Admitted pro hac vice)                       O’DONNELL LLP
  Rachel Soffin                                 Galen D. Bellamy
  (Admitted pro hac vice)                       (Admitted pro hac vice)
  MILBERG COLEMAN BRYSON                        Andrew M. Unthank
  PHILLIPS GROSSMAN, LLP                        (Admitted pro hac vice)
  800 S. Gay Street, Suite 1100                 370 Seventeenth Street, Suite 4500
  Knoxville, TN 37929                           Denver, CO 80202
  T: 865-247-0080                               (303) 244-1800
  F: 865-522-0049                               bellamy@wtotrial.com
  hsegui@milberg.com                            unthank@wtotrial.com
  rsoffin@milberg.com
                                                WINTHROP & WEINSTINE, P.A.
  Michelle J. Looby                             Thomas H. Boyd, #0200517
  GUSTAFSON GLUEK PLLC                          Kyle R. Kroll, #0398433
  Canadian Pacific Plaza                        Mary S. Riverso, #0400224
  120 South 6th Street, Suite 2600              225 South Sixth Street, Suite 3500
  Minneapolis, MN 55402                         Minneapolis, MN 55402
  Telephone: (612) 333-844                      (612) 604-6400
  mlooby@gustafsongluek.com                     tboyd@winthrop.com
                                                kkroll@winthrop.com
                                                mriverso@winthrop.com

 Attorneys for Plaintiff and the Putative       Attorneys for Defendant, Whirlpool
 Class                                          Corporation




                                            2
       CASE 0:20-cv-01906-WMW-KMM Doc. 67 Filed 09/23/21 Page 3 of 4




                               CERTIFICATE OF SERVICE

       This is to certify that the foregoing Joint Status Report was served upon all counsel of

record via this Court’s CM/ECF system.

       This 23rd day of September 2021.            Respectfully submitted,

                                                   /s/ Harper T. Segui
                                                   Harper T. Segui
                                                   MILBERG COLEMAN BRYSON
                                                   PHILLIPS GROSSMAN LLP
                                                   hsegui@milberg.com
CASE 0:20-cv-01906-WMW-KMM Doc. 67 Filed 09/23/21 Page 4 of 4
